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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

       Plaintiff,
                                                 Case No. 11-20564
 v.
                                                 Hon. John Corbett O’Meara
 D-1 CLARENCE WILLIAMSON,

      Defendant.
 ________________________________/

                  ORDER DENYING MOTION TO DISMISS
              INDICTMENT ON DOUBLE JEOPARDY GROUNDS

       Before the court is Defendant’s motion to dismiss the indictment on double

 jeopardy grounds, to which the government has responded.

       On July 8, 2014, a jury was impaneled in this case. Defendant Clarence

 Williamson was representing himself, along with stand-by counsel, Ray Richards.

 Defendant had requested new counsel on the eve of trial, but his motion was

 denied as untimely and was viewed as a possible delay tactic.1 See Docket No. 409.

 See also Docket No. 404 (motion to revoke bond); Docket No. 410 (order denying

 motion to revoke bond without prejudice). On July 9, 2014, Williamson did not

 appear in court. Members of his family relayed information to his co-defendant’s


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           The court had already granted Defendant’s motion for new counsel on the eve of
 trial, on February 5, 2014 (Docket No. 338), making it clear that no further adjournments
 would be granted.
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 counsel that Williamson had gone to the hospital with chest pains. Concerned

 about Williamson’s pattern of attempting to delay the trial, the court revoked his

 bond and issued an arrest warrant. 7/9/14 TR at 124-25.

       The court then considered how to proceed – whether to grant a mistrial or

 whether the trial could continue with Williamson’s co-defendant, Terrell Clark,

 only. Id. at 129-30. The government requested that the court not decide to declare

 a mistrial at that time. The court responded: “I haven’t made any decisions.” Id. at

 130. The prosecutor requested time to discuss the issues of severance and mistrial

 with his supervisors. Id.

       After about an hour, the prosecutor reported that “somebody did come there

 [the hospital] this morning by the name of Clarence Williamson but we could get

 no other information at all about that.” Id. at 132. The government agreed that a

 mistrial was required. Id. Clark did not object to the mistrial. The prosecutor

 stated: “I would just like the record to reflect that or for the Court to ensure that the

 attorneys on Defense side agree with a mistrial and don’t have a problem with it. . .

 .” Id. at 133. At that time, neither Clark’s counsel nor Williamson’s stand-by

 counsel objected. The court noted: “Nobody’s quarreling about that, so I guess

 you’re right about it.” Id. The court then brought the jury in and dismissed them.

 The court also entered a written order declaring a mistrial, noting the uncertainty


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 regarding when Williamson would be apprehended. Docket No. 412.

       Williamson was admitted to the hospital based upon physical (headache,

 inability to move limbs) and psychological (hallucinations) complaints.

 Williamson’s medical records show that he was admitted from July 9 to July 11,

 while tests were conducted. See Def’s Ex. 1. The discharge summary noted that

 “initial presentation concerning for stroke, however with resolution of symptoms[,]

 likely underlying psychiatric condition[,] though malingering is a possibility since

 patient had secondary gain by avoiding court case.” Id. Williamson was

 discharged to the custody of the U.S. Marshals, where he was placed in jail

 psychiatric ward.

       On July 14, 2014, Williamson’s stand-by counsel moved for a competency

 examination of Williamson, which the court ordered on July 17. The court

 permitted Allen Early to appear as new counsel for Williamson on August 22,

 2014. On September 3, 2014, consistent with the competency examination, the

 court found Williamson competent to stand trial. On September 17, 2014, the

 court scheduled trial for November 24, 2014. Trial is currently scheduled for

 December 2, 2014. Defendant filed his motion to dismiss the indictment on double

 jeopardy grounds on November 14, 2014.




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                               LAW AND ANALYSIS

       Defendant argues that there was no manifest necessity for a mistrial and that

 he did not consent to it. The Double Jeopardy Clause of the Fifth Amendment of

 the U.S. Constitution states that no person shall “be subject for the same offence to

 be twice put in jeopardy of life or limb.” “Jeopardy attaches when the original

 panel is seated an sworn.” Watkins v. Kassulke, 90 F.3d 138, 141 (6th Cir. 1996).

 “Once jeopardy attaches, prosecution of a defendant before a jury other than the

 original jury, excluding any contemporaneously empaneled and sworn alternates, is

 barred unless (1) there is a ‘manifest necessity’ for a mistrial or (2) the defendant

 either requests or consents to a mistrial.” Id. “It is clear that manifest necessity is

 not synonymous with absolute necessity, but that a ‘high degree’ of necessity must

 exist before a mistrial may properly be declared.” United States v. Cameron, 953

 F.2d 240, 244 (6th Cir. 1992).

       The court finds both consent and manifest necessity here. In Defendant’s

 absence, his stand-by counsel did not object to the mistrial. Nor did his co-

 defendant’s counsel. Moreover, in Defendant’s absence, the court could not

 proceed with the trial. Concerned about keeping the jury impaneled for an

 indefinite period of time, and how this could impact the defense, the court

 determined that a mistrial was necessary. Indeed, Defendant was in the hospital for


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 three days and a competency hearing could not be held until September 3.

 Defendant does not explain how an alternative (such as a continuance) was a viable

 option under these circumstances.

                                     ORDER

       IT IS HEREBY ORDERED that Defendant’s motion to dismiss on double

 jeopardy grounds is DENIED.

                                      s/John Corbett O’Meara
                                      United States District Judge

 Date: November 25, 2014




       I hereby certify that a copy of the foregoing document was served upon
 counsel of record on this date, November 25, 2014, using the ECF system.


                                      s/William Barkholz
                                      Case Manager




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